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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8 UNITED STATES OF AMERICA,                           )
                                                       )
 9                                       Plaintiff,    )   Case No. CR06-199-RSM
                                                       )
10         v.                                          )   PROPOSED FINDINGS OF FACT
                                                       )   AND DETERMINATION AS TO
11 HARCHAND SINGH,                                     )   ALLEGED VIOLATIONS OF
                                                       )   SUPERVISED RELEASE
12                                    Defendant.       )

13                                          INTRODUCTION

14       I conducted a hearing on alleged violations of supervised release in this case on July 26,

15 2010. The defendant appeared pursuant to a warrant issued in this case. The United States was

16 represented by Lisca Borichewski, and defendant was represented by Keith Hall. Also present

17 was U.S. Probation Officer Jeffrey Robson. The proceedings were digitally recorded.

18                                 SENTENCE AND PRIOR ACTION

19       Defendant was sentenced on February 2, 2007 by the Honorable Ricardo S. Martinez for

20 Conspiracy to Smuggle and Transport Aliens and Bringing an Illegal Alien into the United States

21 for Financial Gain. He received 15 months of detention and 3 years of supervised release.

22       On February 26, 2010, Mr. Singh’s supervision was revoked after he admitted a single

23 violation of Reckless Driving and Reckless Endangerment related to alcohol. He was sentenced


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 1 to 1 day of detention and 2 years of supervised release. In addition to the standard conditions of

 2 supervision, the following special conditions were also ordered; search, abstain from alcohol and

 3 enter into alcohol treatment as directed, financial disclosure, no new credit, no self employment

 4 or employment by friends, relatives or associates, and 180 days home confinement with

 5 electronic monitoring and sobrietor.

 6                              PRESENTLY ALLEGED VIOLATIONS

 7       In a petition dated June 30, 2010, Senior U.S. Probation Officer Michael S. Larsen alleged

 8 that defendant violated the following conditions of supervised release:

 9       1.       Failing to comply with the Location Monitoring Program since March 31, 2010 in

10 violation of the special condition requiring him to participate in the location monitoring program

11 with electronic monitoring for a period of 180 days, with sobrietor, as directed by the probation

12 officer.

13                       FINDINGS FOLLOWING EVIDENTIARY HEARING

14       Defendant admitted the above violations, waived any hearing as to whether they occurred,

15 and was informed the matter would be set for a disposition hearing September 3, 2010 at 9:30

16 a.m. before District Judge Ricardo S. Martinez.

17                       RECOMMENDED FINDINGS AND CONCLUSIONS

18       Based upon the foregoing, I recommend the court find that defendant has violated the

19 conditions of his supervised release as alleged above, and conduct a disposition hearing.

20       DATED this 26th day of July, 2010.

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23
                                                         A
                                                         BRIAN A. TSUCHIDA
                                                         United States Magistrate Judge

     PROPOSED FINDINGS OF FACT AND DETERMINATION AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE - 2
